Case 2:05-cv-02106-.]DB-dkv Document 41 Filed 08/10/05 Page 1 of 3 Page|D 25

IN THE UNITED srATEs DISTRICT CoURT F"‘ED B`*' JQ_ o.c.

FOR THE WESTERN DISTRICT OF TENNESSEFBS AUG
WESTERN DIvrsloN m AH 8= 09
EDWARD SMITH, as Conservator of CLEHH'{BHSM§F§WG%H_D
SUE NELL SMITH, an incapacitated V»J/!_'"j C_r. ;`;` ¢,R;JDSQUHT
person, m `:'a
Plaintiff,
v. No. 05-2106 B
KINDRED NURSING CENTERS

LIMITED PARTNERSHIP, et al.,

Defendants.

 

ORDER OF REFERENCE

 

Before the Court is the motion of the Defendants, Neicie J. McKinion, Katherine A. Bermett,
Frank D. Lamier and J ames W. Freeman, for a protective order filed August 5 , 2005 . The motion
is referred to the United States Magistrate Judge for determination Any objections to the magistrate
judge‘s order shall be made within ten (10) days after service of the order, setting forth particularly
those portions of the order objected to and the reasons for the objections Failure to timely assign
as error a defect in the magistrate judge's order Will constitute a Waiver of that objection §§ Fed.
R. Civ. P. 72(a).

ss
rr rs so oRDERED this ‘?_ day sr Augusr, 2005.

 

J. A EL BREEN \
rra sTATEs DISTRICT JUDGE

This document entered on the docket sheet in con§{iance
with F%u!e 58 and/or 79(a) FF\CP on - "

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Honorable J. Breen
US DISTRICT COURT

Filed 08/10/05 Page 3 of 3 Page|D 27

